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       Thrive Causemetics, Inc.
 8
                                 UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10

11
       THRIVE NATURAL CARE, INC.,                  )   Case No. 2:20-cv-9091
12                                                 )
                   Plaintiff,                      )   STIPULATION TO EXTEND TIME
13                                                 )   TO RESPOND TO INITIAL
       vs.                                         )   COMPLAINT BY NOT MORE
14                                                 )   THAN THIRTY DAYS (L.R. 8-3)
       THRIVE CAUSEMETICS, INC.,                   )
15                                                 )   Complaint served:
                   Defendants.                     )          October 7, 2020
16                                                 )   Current response date:
                                                   )          October 28, 2020
17                                                 )   New response date:
                                                   )          November 27, 2020
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                                 STIPULATION TO EXTEND TIME TO RESPOND
     Case 2:20-cv-09091-PA-AS Document 10 Filed 10/13/20 Page 2 of 3 Page ID #:54




 1           This Stipulation is made and entered into between Plaintiff Thrive Natural Care,
 2     Inc. (“Plaintiff”) and defendant Thrive Causemetics, Inc. (“Defendant”), by and
 3     through their respective counsel, with reference to the following:
 4           1.     WHEREAS, on October 2, 2020, Plaintiff filed its Complaint (“the
 5     Complaint”) in the above-referenced matter;
 6           2.     WHEREAS, on October 7, 2020, Plaintiff served the Complaint on
 7     Defendant;
 8           3.     WHEREAS, under Rule 12 of the Federal Rules of Civil Procedure,
 9     Defendant’s answer or other response is due on or before October 28, 2020;
10           4.     WHEREAS, Defendant requires additional time to evaluate the claims in
11     the Complaint;
12           5.     WHEREAS, Plaintiff has agreed that Defendant’s time to answer or
13     otherwise respond to the Complaint shall be extended to November 27, 2020; and
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                               STIPULATION TO EXTEND TIME TO RESPOND
     Case 2:20-cv-09091-PA-AS Document 10 Filed 10/13/20 Page 3 of 3 Page ID #:55




 1           6.     WHEREAS, this is the first extension of time provided to Defendant to
 2     respond to the Complaint, and is for a period of not more than thirty days (see Local
 3     Rule 8-3);
 4           NOW, THEREFORE, Plaintiff and Defendant hereby stipulate that Defendant
 5     shall have an extension of time, to and including November 27, 2020, to answer or
 6     otherwise respond to the Complaint.
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 8     Dated:       October 13, 2020
                                                   SIDLEY AUSTIN LLP
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                                                   By: /s/ Rollin A. Ransom
11                                                   Rollin A. Ransom
                                                     Attorneys for Defendant
12                                                   Thrive Causemetics, Inc.
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       Dated:       October 13, 2020
14                                                 THE MCARTHUR LAW FIRM, P.C.
15

16                                                 By: /s/ Stephen McArthur
                                                     Stephen McArthur
17                                                   Thomas Dietrich
                                                     Attorneys for Plaintiff
18                                                   Thrive Natural Care, Inc.
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20                                 SIGNATURE ATTESTATION
21           I am the CM/ECF filer whose identification and password are being used to file
22     the foregoing Stipulation To Extend Time To Respond To Initial Complaint By Not
23     More Than Thirty Days (L.R. 8-3). In compliance with Local Civil Rule 5-
24     4.3.4(a)(2)(i), I hereby attest that every signatory has concurred in this filing.
25

26     Dated: October 13, 2020                        /s/ Rollin A. Ransom
                                                      Rollin A. Ransom
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                                                  3
                                STIPULATION TO EXTEND TIME TO RESPOND
